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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION

ERIC BERNARD HICKS,                     )



                                        )



      Movant,                           )



                                        )



V.                                      )




                                        )      Case No. CV 413-242
UNITED STATES OF AMERICA,               )                CR 499-133
                                        )



      Respondent.                       )




                  REPORT AND RECOMMENDATION

      Convicted in 2000 on drug charges and sentenced to 235 months'

imprisonment (doc. 1),1 Eric Bernard Hicks unsuccessfully appealed (cr

doc. 669), then unsuccessfully moved for 28 U.S.C. § 2255 relief. (Cr.

doc. 720.) Citing Spencer v. United States, 727 F.3d 1076 (11th Cir.

2013) (relief from sentencing errors may be sought under certain

circumstances in an initial § 2255 proceeding), Hicks again moves for §

2255 relief. (Doc. 1.)

      "When a prisoner has previously filed a § 2255 motion to vacate, he

must apply for and receive permission from [the Eleventh Circuit] before


      1
         "Cr. doe." citations point to movant's criminal docket. "Doe." citations refer
to the § 2255 civil docket.
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filing a successive § 2255 motion. 28 U.S.C. §§ 2244(b)(3), 2255(h)."

Daniels v. Warden, FCC Coleman-USP I, 2013 WL 5225494 at * 1 (11th

Cir. Sept. 18, 2013). Hicks has knocked on the wrong court's door.

Accordingly, his § 2255 motion must be DISMISSED.

     Applying the Certificate of Appealability (COA) standards set forth

in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9,

2009), the Court discerns no COA-worthy issues at this stage of the

litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1); see Alexander

v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving sua sponte

denial of COA before movant filed a notice of appeal). And, as there are

no non-frivolous issues to raise on appeal, an appeal would not be taken

in good faith. Thus, in forma pauperis status on appeal should likewise

be DENIED. 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED this 4th day of

December, 2013.


                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
